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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

CHARLES SLAUGHTER                                                                PLAINTIFF


vs.                                                     Civil Action No. 3:20-cv-789-CWR-FKB


DR. DANIEL P. EDNEY, in his Official
Capacity as the Mississippi State Health
Officer                                                                        DEFENDANT

MISSISSIPPI ASSOCIATION FOR
HOME CARE                                                       INTERVENOR DEFENDANT


  MISSISSIPPI ASSOCIATION FOR HOME CARE, INC.’S FIRST SUPPLEMENTAL
    RESPONSES TO PLAINTIFF’S COMBINED FIRST SET OF REQUESTS FOR
   ADMISSIONS, INTERROGATORIES, AND REQUESTS FOR PRODUCTION OF
                             DOCUMENTS


       Intervenor Defendant Mississippi Association for Home Care, Inc. supplements its

response to Plaintiff’s Combined First Set of Requests for Admissions, Interrogatories, and

Requests for Production of Documents as follows:

                                REQUESTS FOR ADMISSIONS

       REQUEST NO. 1: Admit that you have no specific reason to believe that Plaintiff would

operate a home health agency improperly.

       RESPONSE: Based upon Mr. Slaughter’s deposition testimony, MAHC denies this

request.

       REQUEST NO. 2: Admit that the affected parties who participate in review of CON

applications are always, or almost always, would-be competitors of the applicant and are not

patients or users of health care services.




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       RESPONSE: MAHC lacks knowledge of the extent to which patients or users of health

care services may review CON applications from time to time and thus cannot admit or deny this

request to the extent it refers to patients or users of health care services. MAHC denies the

remainder of this request because (i) the primary reviewers of CON applications are staff of the

Mississippi Department of Health and (ii) every public hearing provides the opportunity for

members of the public to make comments in support of or in opposition to a CON application so that

affected parties can include individuals or organizations that are not competitors or would-be

competitors of the applicant.

       REQUEST NO. 3: Admit that, aside from being a prerequisite for licensure, the

application process for a CON in Mississippi is unrelated to the application process for licensure

as a home health agency in Mississippi.

       RESPONSE: MAHC objects to this request because it would be necessary to analyze

every term of the numerous minimum standards for licensing a home health agency and making a

comparison with the requirements for acquiring a CON. Upon information and belief, MAHC

would deny this request because, for example, both the licensure requirements and CON

requirements include periodic reports to the Department of Health.

       REQUEST NO. 4: Admit that the application process for a CON in Mississippi is

unrelated to the process for licensure for a doctor, nurse, home health aide, physical therapist, or

other individual health care provider in Mississippi.

       RESPONSE: MAHC denies this request because, at a minimum, a home health agency is

required to employ a nurse and thus the licensing of a home health agency necessarily requires the

licensing of a nurse.




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       REQUEST NO. 5: Admit that any health and safety concerns that could be posed to the

public by the operation of a home health agency are adequately addressed by the separate statutory

and regulatory requirements for home health agency licensure.

       RESPONSE: MAHC denies this request. One of the purposes of Mississippi’s CON

program is to ensure that there is a sufficient need for a new home health agency such that the

expected financial performance of all CON holders, including the applicant, will be sufficient to

provide the ability to sustain the provision of quality care, and access to care, to indigent persons

and persons in rural areas. These matters concern health and safety of these patients. Licensure

requirements do not address these concerns.

       FIRST SUPPLEMENTAL RESPONSE: MAHC supplements the foregoing response

by adding that additional purposes of Mississippi’s CON program are to ensure that there is a

sufficient need for a new home health agency such that the expected financial performance of all

CON holders, including the applicant, will be sufficient to sustain the ability to provide the general

public access to both a wider range of healthcare services and the latest innovations in services

and technology. These matters also concern health and safety of the general population. Licensure

requirements do not address these concerns.

       REQUEST NO. 6: Admit that the State Health Plan does not account for increased quality

of care that could be provided by new providers in determining the need for home health agencies.

       RESPONSE: MAHC objects to this request because the premise is invalid. Accordingly,

MAHC denies this request. Moreover, in evaluating the need for a project, the State Health Plan

as well as other CON review criteria do in fact consider the extent to which a new provider would

enhance quality of care.




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       REQUEST NO. 7: Admit that you have no basis to know whether Plaintiff would provide

better quality home health services than is currently being provided by existing home health

agencies.

       RESPONSE: Based on Mr. Slaughter’s deposition testimony, MAHC denies this request.

       REQUEST NO. 8: Admit that the CON program and home health moratorium decrease

the number of home health agencies in Mississippi.

       RESPONSE: MAHC admits that the moratorium has kept the number of home health care

agencies from increasing. MAHC admits that during the moratorium, the number of home health

care agencies in Mississippi has decreased. MAHC lacks knowledge of the specific cause(s) for a

home health agency in Mississippi to no longer do business.

       REQUEST NO. 9: Admit that there has been consolidation in the home health agency

market in Mississippi since 1981.

       RESPONSE: MAHC admits that there has been some “consolidation” in the physical

operation of home health agencies in Mississippi and across all other states for reasons not related

to CON regulation. MAHC lacks knowledge as to whether any such “consolidation” has resulted

in fewer home health agency licenses in Mississippi.

       REQUEST NO. 10: Admit that Mississippi is the only state in the United States that has

imposed a continuous moratorium on new home health agencies since 1981.

       RESPONSE: On information and belief, admitted.

       REQUEST NO. 11: Admit that in the late 1970s and/or early 1980s the Mississippi

Association for Home Care (then the Mississippi Home Health Association), through its officers,

employees, members, agents, attorneys, or lobbyists, publicly or privately advocated for the

Mississippi State Department of Health (then the Mississippi Health Care Commission) and/or the




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Mississippi legislature to prohibit hospitals from owning home health agencies and/or to enact a

moratorium on the issuance of CONs for home health agencies and/or to impose other restrictions

on the creation of new home health agencies.

       RESPONSE: At this time MAHC lacks knowledge of activities in the 1970s and early

1980s that are the subject of this request. Accordingly, MAHC can neither admit nor deny this

request.

       REQUEST NO. 12: Admit that in the late 1970s and/or early 1980s, there was an increase

in the utilization of home health services in Mississippi.

       RESPONSE: MAHC lacks knowledge of the subject of this request. On information and

belief of MAHC’s designated expert, MAHC admits this request.

       REQUEST NO. 13: Admit that in the late 1970s and/or early 1980s, the Mississippi

Hospital Association encouraged hospitals in Mississippi to develop their own home health

agencies.

       RESPONSE: MAHC lacks knowledge of the subject of this request. Accordingly, MAHC

can neither admit nor deny this request.

       REQUEST NO. 14: Admit that officers of the Mississippi Association for Home Care

(then the Mississippi Home Health Association) believed that an increase in the number of home

health agencies in Mississippi in the late 1970s and/or early 1980s, including but not limited to

hospital-based home health agencies, was having or would have a negative impact on the cost,

quality, and/or accessibility of home health services in Mississippi.

       RESPONSE: MAHC lacks knowledge of what former officers believed in the 1970s and

early 1980s. Accordingly, MAHC can neither admit nor deny this request. However, MAHC does




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believe today that an increase in the number of home health agencies in Mississippi is not

warranted and would have a negative impact on costs, quality and access to home health care.

       REQUEST NO. 15: Admit that officers of the Mississippi Association for Home Care

(then the Mississippi Home Health Association) believed that, in addition to other negative effects,

an increase in the number of home health agencies in Mississippi in the late 1970s and/or early

1980s, including but not limited to hospital-based home health agencies, was causing or would

cause existing, free-standing home health agencies to lose their referral sources or otherwise lose

business.

       RESPONSE: MAHC lacks knowledge of what former officers believed in the 1970s and

early 1980s. Accordingly, MAHC can neither admit nor deny this request. However, MAHC does

believe today that if Mississippi’s CON program for home health care were to be eliminated, then

an unregulated market would likely result in a significant increase in the number of home health

agencies in Mississippi which would have a significant negative impact on costs, quality and the

ability of home health agencies to offer services to indigent persons and persons in rural

communities.

       FIRST SUPPLEMENTAL RESPONSE: MAHC supplements the foregoing response by

adding that MAHC also believes today that if Mississippi’s CON program for home health care

were to be eliminated, then an unregulated market would likely result in a significant increase in

the number of home health agencies in Mississippi which would have a significant negative impact

on the ability of home health agencies to provide the general public access to both a wider range

of healthcare services and the latest innovations in services and technology.

       REQUEST NO. 16: Admit that the increase in the utilization of home health services in

Mississippi in the late 1970s and/or early 1980s was caused or contributed to, in whole or in part,




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by the enactment of a new diagnosis-related group (DRG)-based Medicare prospective payment

system, which provided an incentive for early hospital discharge.

       RESPONSE: MAHC lacks knowledge of the subject of this request. On information and

belief of MAHC’s designated expert, MAHC admits this request in part. It is his opinion that (i)

the Medicare Prospective Payment System was only one factor that contributed to the increase in

home health utilization after its implementation in October 1983 and (ii) the growth in home health

utilization since 1983 has also resulted from the growth and aging of the population, the expansion

of in-home services offered by home health providers, and federal and state efforts to reduce reliance

on nursing homes for post-acute care.

       REQUEST NO. 17: Admit that the advocacy by the Mississippi Association for Home

Care (then the Mississippi Home Health Association) for a prohibition on new hospital-based

home health agencies and/or a moratorium on the issuance of CONs for new home health agencies

and/or other restrictions on the creation of new home health agencies was motivated, in whole or

in part, by the renewed interest in the development of hospital-based home health agencies in the

late 1970s and/or early 1980s, and the perceived harms that were caused or would be caused by an

increase in the number of home health agencies.

       RESPONSE: MAHC lacks knowledge of both the underlying premise and the subject of

this request. Accordingly, MAHC can neither admit nor deny this request. However, MAHC

admits that elimination of Mississippi’s CON program for home health agencies would result in

significant harms to indigent persons and persons living in rural areas.

       FIRST SUPPLEMENTAL RESPONSE: MAHC supplements the foregoing response by

adding that MAHC admits that elimination of Mississippi’s CON program for home health

agencies would result in significant harms to the general public with respect to the ability of home




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health agencies to provide the general public access to both a wider range of healthcare services

and the latest innovations in services and technology.

       REQUEST NO. 18: Admit that the Mississippi Association for Home Care (including the

Mississippi Home Health Association) through its officers, employees, members, agents,

attorneys, or lobbyists, has publicly or privately advocated against numerous bills introduced in

the Mississippi legislature which would have repealed the moratorium on the issuance of CONs

for new home health agencies.

       RESPONSE: MAHC objects to this request because the phrase “publicly or privately

advocated” is overly broad and ambiguous. MAHC lacks knowledge of statements that may have

been made by former officers, employees, members, agents or attorneys. MAHC admits that it

has routinely retained a lobbyist who has identified and monitored legislative bills of interest to

MAHC, including bills relating to the moratorium. MAHC admits that its lobbyist has from time

to time advocated against lifting the moratorium because the members of MAHC believe the lifting

of the moratorium would be detrimental to the goals set forth in the State Health Plan as they relate

to the provision of home health services.

       REQUEST NO. 19: Admit that no officer, agent, or employee of the Mississippi

Association for Home Care (including the Mississippi Home Health Association) has ever stated

or suggested in writing that elimination of the home health CON law or home health moratorium

would increase the regulatory burden on the Mississippi State Department of Health or its

predecessor agency, the Mississippi Health Care Commission, or that the home health CON law

or home health moratorium should be preserved in order to avoid increasing the regulatory burden

to the agency.




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         RESPONSE: MAHC lacks knowledge of what current or former officers may have stated

in their personal writings relating to the subject matter of this request. Accordingly, MAHC can

neither admit nor deny this request.

         REQUEST NO. 20: Admit that you have no evidence to support the contention that

elimination of the home health CON law or home health moratorium would increase the

Mississippi State Department of Health’s regulatory burden.

         RESPONSE: MAHC lacks knowledge of the subject of this request. On information and

belief of MAHC’s designated expert, MAHC denies this request. It is his opinion that (i) the

experience of other states that have eliminated CON regulation of home health services indicates

that the number of agencies would increase significantly in Mississippi if CON regulation were

eliminated, and (ii) an increasing number of agencies would result in a significantly greater number

of initial applications for licensure, ongoing review of annual licensure renewal applications, and

investigation into complaints regarding the operations of a large number of agencies.

         REQUEST NO. 21: Admit that any current methods used by the Mississippi State

Department of Health to require or encourage home health agencies applying for or receiving a

CON to provide care to Medicaid, underinsured, or indigent patients could also be used to require

or encourage all home health agencies applying for or receiving licensure to provide care to

Medicaid, underinsured, or indigent patients.

         RESPONSE: MAHC lacks knowledge of the subject of this request. On information and

belief of MAHC’s designated expert, MAHC denies this request. It is his opinion that the licensure

process collects information regarding the utilization of home health services by payor, but it has no

authority to encourage or sanction providers regarding the types of patients the agencies choose to

serve.




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        REQUEST NO. 22: Admit that home health agencies can delay or prevent the need for

elderly patients to be placed in nursing homes, assisted-living facilities, and other long-term care

facilities.

        RESPONSE: Admitted.

        REQUEST NO. 23: Admit that existing home health agencies are not legally prohibited

from increasing the number of staff members they employ or contract with and are not legally

prohibited from increasing the number of patients they serve within the geographic borders

authorized by their CON.

        RESPONSE: Admitted.

        REQUEST NO. 24: Admit that you do not know the exact number of people in

Mississippi, if any, who need home health services but are not receiving them, or the exact number

of people in Mississippi, if any, who are receiving inadequate home health services or who need

home health services not provided by their current home health agency.

        RESPONSE: MAHC objects to this request because it is actually three separate requests

for which there is no one simple response. MAHC objects to this request because it improperly

assumes that there exists an objective basis for anyone in the position of either the plaintiff or the

defendants in this action or any of their respective witnesses, or the Court for that matter, to

determine the “needs” of individual members of the public. MAHC further objects to this request

because “need” alone is not the determining factor for a home health agency to be permitted to

provide services. The patient must have a written directive from a physician authorizing the care.

Subject to these objections and without waiving the same, (i) MAHC is not aware of evidence that

anyone in Mississippi who is eligible to receive home health services has sought such services but

has been denied such services, (ii) MAHC is not aware of patients who are receiving inadequate




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home health services in Mississippi and (iii) MAHC is not aware of patients in Mississippi who

need home health services not provided by their current home health agency. MAHC would state

affirmatively that the only available objective data of which it is aware is published by the Centers

for Medicare and Medicaid Services which shows in its Star Rating System that Mississippi ranks

higher than all non-CON states with respect to quality of care and access to care provided by its

home health agencies.

                                     INTERROGATORIES

       INTERROGATORY NO. 1: Identify each government interest you contend is advanced

by Mississippi’s CON program.

       RESPONSE: MAHC objects to this request to the extent it seeks expert testimony.

MAHC objects to the extent this interrogatory seeks information about CON regulations beyond

those regulating the home health agencies of the State of Mississippi. Subject to these objections,

MAHC responds that controlling costs, improving the health of Mississippians, increasing

acceptability of healthcare, preventing unnecessary duplication, maintaining proper quality of

healthcare, increasing access to care for indigent persons and persons in rural areas, enabling home

health agencies to employ modern technology and to provide new available services, minimizing

the burden on those providing regulatory oversight, ensuring continuity of care, and minimizing

fraud and abuse are all governmental interests served by the CON program regulating home health

agencies.

       FIRST SUPPLEMENTAL RESPONSE: MAHC supplements the foregoing response

by adding that it incorporates by reference Dan Sullivan’s expert report served in this action as

well as his deposition testimony and the deposition testimony of Becky Knight and Dr. Lucius




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Lampton which provide additional insight regarding governmental interests served by

Mississippi’s CON program.

       INTERROGATORY NO. 2: Identify each government interest you contend is advanced

by applying Mississippi’s CON program specifically to home health agencies.

       RESPONSE: MAHC objects to this request to the extent it seeks expert testimony.

Subject to this objection, MAHC responds that controlling costs, improving the health of

Mississippians, increasing acceptability of healthcare, preventing unnecessary duplication,

maintaining proper quality of healthcare, increasing access to care for indigent persons and persons

in rural areas, enabling home health agencies to employ modern technology and to provide new

available services, minimizing the burden on those providing regulatory oversight, ensuring

continuity of care, and minimizing fraud and abuse are all governmental interests served by the

CON program regulating home health agencies.

       FIRST SUPPLEMENTAL RESPONSE: MAHC supplements the foregoing response

by adding that it incorporates by reference Dan Sullivan’s expert report served in this action as

well as his deposition testimony and the deposition testimony of Becky Knight and Dr. Lucius

Lampton which provide additional insight regarding governmental interests served by

Mississippi’s CON program regulating home health agencies.

       INTERROGATORY NO. 3: Identify each government interest you contend is advanced

by the moratorium on the issuance of CONs to home health agencies.

       RESPONSE: MAHC objects to this request to the extent it seeks expert testimony.

Subject to this objection, MAHC responds that controlling costs, improving the health of

Mississippians, increasing acceptability of healthcare, preventing unnecessary duplication,

maintaining proper quality of healthcare, increasing access to care for indigent persons and persons




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in rural areas, enabling home health agencies to employ modern technology and to provide new

available services, minimizing the burden on those providing regulatory oversight, ensuring

continuity of care, and minimizing fraud and abuse are all governmental interests served by the

CON program regulating home health agencies, including the moratorium.

       FIRST SUPPLEMENTAL RESPONSE: MAHC supplements the foregoing response

by adding that it incorporates by reference Dan Sullivan’s expert report served in this action as

well as his deposition testimony and the deposition testimony of Becky Knight and Dr. Lucius

Lampton which provide additional insight regarding governmental interests served by

Mississippi’s CON program regulating home health agencies, including the moratorium.

       INTERROGATORY NO. 4: Identify the facts or documents, if any, that support the

contention that applying Mississippi’s CON program specifically to home health agencies:

       (a)            Prevents unnecessary duplication of health resources;

       (b)            Provides cost containment;

       (c)            Improves the health of Mississippi residents;

       (d)            Increases the accessibility of health services;

       (e)            Increases the acceptability of health services;

       (f)            Increases the continuity of health services;

       (g)            Increases the quality of health services;

       (h)            Promotes health services in rural areas;

       (i)            Increases health services for the indigent;

       (j)            Reduces the prevalence of fraud or abuse in the provision of health services;

       (k)            Reduces regulatory burden to the State;




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        (l)              Advances any other government interest identified by you in response to

Interrogatory No. 2.

        RESPONSE: See the Expert Report of Daniel Sullivan, the deposition testimony of

Daniel Sullivan and the documents and exhibits referred to in both. See also the exhibits

introduced at Dr. Thomas Stratmann’s deposition. MAHC also identifies the personal experiences

and observations of its designated potential witnesses who have observed increased incidents of

fraud and abuse in home health in states without certificate-of-need regulation and in industries

(such as hospice) in Mississippi that do not have certificate-of-need requirements.       MAHC

reserves the right to supplement its answer to this Interrogatory.

        FIRST SUPPLEMENTAL RESPONSE: MAHC supplements the foregoing response

by adding that it incorporates by reference the deposition testimony of Becky Knight, Warren

Thornton and Dr. Lucius Lampton which provide additional insight regarding many of the subparts

of this interrogatory.

        INTERROGATORY NO. 5: Identify the facts or documents, if any, that support the

contention that Mississippi’s moratorium on the issuance of CONs to new home health agencies:

        (a)              Prevents unnecessary duplication of health resources;

        (b)              Provides cost containment;

        (c)              Improves the health of Mississippi residents;

        (d)              Increases the accessibility of health services;

        (e)              Increases the acceptability of health services;

        (f)              Increases the continuity of health services;

        (g)              Increases the quality of health services;

        (h)              Promotes health services in rural areas;




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        (i)              Increases health services for the indigent;

        (j)              Reduces the prevalence of fraud or abuse in the provision of health services;

        (k)              Reduces regulatory burden to the State;

        (l)              Advances any other government interest identified by you in response to

Interrogatory No. 3.

        RESPONSE: See the Expert Report of Daniel Sullivan, the deposition testimony of

Daniel Sullivan and the documents and exhibits referred to in both. See also the exhibits

introduced at Dr. Thomas Stratmann’s deposition. MAHC also identifies the personal experiences

and observations of its designated potential witnesses who can generally testify regarding their

own experience regarding some or all of these factors (a) through (l). For example, MAHC

believes its designated potential witnesses have observed increased incidents of fraud and abuse

in home health in states without certificate-of-need regulation and in industries (such as hospice)

in Mississippi that do not have certificate-of-need requirements. MAHC reserves the right to

supplement its answer to this Interrogatory.

        FIRST SUPPLEMENTAL RESPONSE: MAHC supplements the foregoing response

by adding that it incorporates by reference the deposition testimony of Becky Knight, Warren

Thornton and Dr. Lucius Lampton which provide additional insight regarding many of the subparts

of this interrogatory.

        INTERROGATORY NO. 6: Identify the facts or documents, if any, that support the

contention that the government interest identified in Interrogatory No. 2 would actually be

advanced by permitting affected parties to participate in or appeal CON determinations for other

home health agencies if the moratorium were removed.




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       RESPONSE:         MAHC objects to this Interrogatory because its underlying premise is

invalid in that it wrongly presumes that interested members of the public must first pass an

unidentified factual test before being afforded the right to petition their government.          The

Constitution guarantees the right of citizens to petition the government. MAHC further objects to

this Interrogatory as premature. Notwithstanding its objections, MAHC would refer to the Expert

Report of Daniel Sullivan, the deposition testimony of Daniel Sullivan and the documents and

exhibits referred to in both. MAHC also identifies the professional experiences of its designated

potential witnesses who have experiences in states where such a process is permitted. MAHC

reserves the right to supplement its answer to this Interrogatory.

       FIRST SUPPLENTAL RESPONSE: MAHC supplements the foregoing response by

adding that it further objects to this interrogatory because its underlying premise is invalid in that

it wrongly presumes that the moratorium precludes any member of the public from petitioning the

MSDH or the Mississippi Legislature regarding a CON for a home health agency or the lifting of

the moratorium.

       INTERROGATORY NO. 7: Identify the differences (if any) between home health

agencies and the health care providers exempt from Mississippi’s CON program by Mississippi

statutes that justify requiring CONs for home health agencies but not the exempt providers.

       RESPONSE: MAHC objects to this interrogatory because its underlying premise is

invalid in that it wrongly assumes that a CON program for home health agencies can only be

justified by comparing home health agencies with other health care providers generally. MAHC

also objects to this interrogatory to the extent it seeks expert testimony. Notwithstanding its

objections, MAHC would refer to the Expert Report of Daniel Sullivan, the deposition testimony

of Daniel Sullivan and the documents and exhibits referred to in both. MAHC also identifies the




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professional experiences of its designated potential witnesses.         MAHC further states that

differences include breadth and type of services home health agencies provide and the nature of

the patient population served. For example, other health care providers offer their specialized

services in their own offices where the patients come to them. In contrast, a home health agency

offers a variety of services, all of which require travel to the patient’s home. Home health agencies

need to have and maintain a sufficient client base so that the agency can afford to provide some

needed services at a loss. Home health agencies are not reimbursed for travel time contrasted

with other health care providers whose patients come to their office. Home health agencies need

to have and maintain a sufficient client base to afford to provide service to rural areas. Home

health agencies are required to provide indigent care contrasted with other health care providers

who have no such requirement. Home health agencies need to have and maintain a sufficient client

base to afford to provide indigent care. Home health agencies serve homebound patients, which

makes providing care across the state in a cost-efficient manner very important. In addition, the

majority of home health patients are Medicare patients, which makes cost containment, quality of

care, access to care, continuity of care, and reducing fraud and abuse even more important for the

government than if it were primarily private insurance. MAHC reserves the right to supplement

this interrogatory.

       FIRST SUPPLEMENTAL RESPONSE: MAHC supplements the foregoing response

by adding that it incorporates by reference the deposition testimony of Becky Knight and Dr.

Lucius Lampton to the extent their testimony addresses the subject matter of this interrogatory.

       INTERROGATORY NO. 8: Identify the differences (if any) between home health

agencies and the health care providers subject to Mississippi’s CON program but not subject to a




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moratorium on the issuance of CONs by Mississippi statutes that justify imposing a moratorium

on CONs for new home health agencies but not on the providers not subject to a moratorium.

       RESPONSE: MAHC objects to this interrogatory because its underlying premise is

invalid in that it wrongly assumes that it is proper to compare the CON program for home health

agencies with other CON programs. MAHC also objects to this request to the extent it seeks expert

testimony. Subject to these objections, MAHC would refer to the Expert Report of Daniel

Sullivan, the deposition testimony of Daniel Sullivan and the documents and exhibits referred to

in both. MAHC also identifies the professional experiences of its designated potential witnesses.

MAHC further states that differences include breadth and type of services home health agencies

provide and the nature of the patient population served. For example, other health care providers

offer their specialized services in their own offices where the patients come to them. In contrast,

a home health agency offers a variety of services, all of which require travel to the patient’s home.

Home health agencies need to have and maintain a sufficient client base so that the agency can

afford to provide some needed services at a loss. Home health agencies are not reimbursed for

travel time contrasted with other health care providers whose patients come to their office. Home

health agencies need to have and maintain a sufficient client base to afford to provide service to

rural areas. Home health agencies are required to provide indigent care contrasted with other

health care providers who have no such requirement. Home health agencies need to have and

maintain a sufficient client base to afford to provide indigent care. Home health agencies serve

homebound patients, which makes providing care across the state in a cost-efficient manner very

important. In addition, the majority of home health patients are Medicare patients, which makes

cost containment, quality of care, access to care, continuity of care, and reducing fraud and abuse




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even more important for the government than if it were primarily private insurance. MAHC

reserves the right to supplement this interrogatory.

         FIRST SUPPLEMENTAL RESPONSE: MAHC supplements the foregoing response

by adding that it incorporates by reference the deposition testimony of Becky Knight and Dr.

Lucius Lampton to the extent their testimony addresses the subject matter of this interrogatory.

         INTERROGATORY NO. 9: Identify any facts or documents that support your expert’s

contention that, even in the absence of a cost-plus reimbursement method, “when it comes to health

care services, ‘supply creates its own demand’ . . . even if there is not a clinical need for them.”

         RESPONSE: See the Expert Report of Daniel Sullivan, the deposition testimony of

Daniel Sullivan and the documents and exhibits referred to in both. See also the exhibits

introduced at Dr. Thomas Stratmann’s deposition. MAHC would also state that the personal

experiences of its designated potential witnesses support this. MAHC reserves the right to

supplement its answer to this Interrogatory.

         FIRST SUPPLEMENTAL RESPONSE: MAHC supplements the foregoing response

by adding that it incorporates by reference the deposition testimony of Becky Knight and Dr.

Lucius Lampton to the extent their testimony addresses the subject matter of this interrogatory.

         INTERROGATORY NO. 10: Identify any facts or documents that support your expert’s

contention that, even in the absence of a cost-plus reimbursement method, for home health

agencies in particular, ‘supply creates its own demand’ . . . even if there is not a clinical need for

them.”

         RESPONSE: See the Expert Report of Daniel Sullivan, the deposition testimony of

Daniel Sullivan and the documents and exhibits referred to in both. See also the exhibits

introduced at Dr. Thomas Stratmann’s deposition. MAHC would also state that the personal




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experiences of its designated potential witnesses support this. MAHC reserves the right to

supplement its answer to this Interrogatory.

       FIRST SUPPLEMENTAL RESPONSE: MAHC supplements the foregoing response

by adding that it incorporates by reference the deposition testimony of Becky Knight and Dr.

Lucius Lampton to the extent their testimony addresses the subject matter of this interrogatory.

       INTERROGATORY NO. 11: Identify any facts or documents that support the

contention that the formula used to determine the need for home health agencies in the State Health

Plan correctly assesses the actual need for home health agencies.

       RESPONSE: MAHC would refer to the annual home health reports published by the State

of Mississippi as well as the response of MSDH to this interrogatory.

       FIRST SUPPLEMENTAL RESPONSE: MAHC supplements the foregoing response

by adding that it incorporates by reference the deposition testimony of Dr. Lucius Lampton to the

extent his testimony addresses the subject matter of this interrogatory.

       INTERROGATORY NO. 12: Identify any legal requirements placed on your member

home health agencies to ensure that they serve Medicaid, underinsured, or indigent patients, or

provide charity care.

       RESPONSE:          The State Health Plan requires home health agency CON holders to

provide services to Medicaid, underinsured and indigent patients. Home health agencies are

required to submit to the MSDH annual reports that include statistical information regarding the

patients served. MAHC cannot speak for the MSDH regarding its policies for enforcing the State

Health Plan.

       INTERROGATORY NO. 13: Identify any consulting, lobbying, or government affairs

firms you have retained to consider or create studies, reports, or proposals concerning study,




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analysis, costs, benefits, harms, repeal, preservation, or amendment of Mississippi’s CON laws,

CON regulations, home health CON requirement, or home health moratorium.

       RESPONSE: Buddy Medlin & Associates, Daniel Sullivan, and Arent Fox.

       INTERROGATORY NO. 14: Identify all documents referred to or examined in

preparing the responses to these interrogatories and Plaintiff’s First Set of Requests for

Admissions, including identifying for which interrogatory or request a document was referred to

or examined.

       RESPONSE: MAHC objects to this request to the extent it seeks information protected

by the attorney-client privilege or work-product. MAHC objects to this request to the extent that

it asks for an index of documents being produced. MAHC will produce responsive documents as

described in its responses to Plaintiff’s requests for production.

       INTERROGATORY NO. 15: Identify all individuals you consulted in preparing

responses to these interrogatories, Plaintiff’s First Set of Requests for Admissions, and Plaintiff’s

First Set of Requests for Production. For each individual, include their employer and job title and

indicate the interrogatories, requests, or admission for which the person was consulted.

       RESPONSE: To the extent Paul Davis and Caroline Smith assisted in investigating this

matter, MAHC objects on the grounds of attorney-client privilege and attorney work product,

mental impressions, conclusions, opinions, or legal theories of an attorney.         Becky Knight

(President South Region, Kindred at Home); Richard MacMillan (Senior Vice President and

Senior Counsel, LHC Group, Inc.); Danny Mullins (Division Vice President of Sales-Alabama and

Mississippi, Kindred at Home); Chad Blalack (Kare-in-Home), reviewed each of the written

discovery requests and were given the opportunity to provide insight. Daniel Sullivan reviewed

and commented on the requests for admission.




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       INTERROGATORY NO. 16: Identify every person you intend to have offer testimony

in this case, including any expert witness, and describe the substance of the anticipated testimony.

       RESPONSE: MAHC objects to this interrogatory because it is not practicable to state the

substance of testimony of fact witnesses because that testimony will be in rebuttal to the plaintiff’s

testimony and arguments made at trial. MAHC also objects to this request as it is premature and

MAHC is still developing its trial strategy, if there is a trial. Subject to these objections, MAHC

responds that it may call Charles Slaughter, Becky Knight, Richard MacMillan, Danny Mullins,

and/or Chad Blalack as fact witnesses about the allegations contained in the Complaint and the

averments in MAHC’s Answer to the Complaint. MAHC is considering calling Daniel Sullivan

about the benefits and effects of certificate of need regulation as set forth in his report heretofore

produced to plaintiff and in his deposition heretofore taken by plaintiff. MAHC may also have

one or more of the foregoing fact witnesses testify concerning their experiences relating to the

matters set forth in Dan Sullivan’s report and Dr. Stratmann’s report and deposition taken by

MAHC in this action.

       FIRST SUPPLEMENTAL RESPONSE: MAHC supplements the foregoing response

by deleting Richard MacMillan, Danny Mullins and Chad Blalack as potential fact witnesses and

adding as potential fact witnesses Warren Thornton and the MSDH Rule 30(b)(6) witnesses who

were deposed in this action.

       INTERROGATORY NO. 17: Identify each and every person from whom you or anyone

acting on your behalf (including, without limitation, your attorneys, any investigator working for

your attorneys, or you, or any other person) have obtained a statement (e.g. written, recorded or

otherwise) or affidavit concerning any fact, matter or event having any connections or relevance

to the claims or defenses in this lawsuit.




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          RESPONSE: None.

          INTERROGATORY NO. 18: Identify each document, electronic or otherwise, and thing

in your possession, custody, or control that you may use to support your claims or defenses in this

matter.

          RESPONSE: See documents that have been and will be produced. See the Expert Report

of Daniel Sullivan, the deposition testimony of Daniel Sullivan and the documents and exhibits

referred to in both. See also the exhibits introduced at Dr. Thomas Stratmann’s deposition. MAHC

reserves the right to supplement its answer to this Interrogatory.

          FIRST SUPPLEMENTAL RESPONSE: MAHC supplements the foregoing response

by adding that the reference to “documents that have been and will be produced” in the foregoing

response is intended to include those documents produced by any party in this action as well as

exhibits to any and all depositions taken in this action.

          INTERROGATORY NO. 19: Identify all persons whom you will call, or may call, as

witnesses in the trial of this action, and for each person state whether you will call, or only may

call, the person to testify at trial.

          RESPONSE: MAHC objects to this request as it is premature and MAHC is still

developing its trial strategy, if there is a trial. Subject to these objections, MAHC responds that it

is considering calling Charles Slaughter, Becky Knight, Richard MacMillan, Danny Mullins, Chad

Blalack, and Daniel Sullivan.

          FIRST SUPPLEMENTAL RESPONSE: MAHC supplements the foregoing response

by deleting Richard MacMillan, Danny Mullins and Chad Blalack as potential “may call”

witnesses and adding Warren Thornton as well as each of the MSDH Rule 30(b)(6) witnesses as

“may call” witnesses.




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        INTERROGATORY NO. 20: If your response to Request for Admission No. 20 was

anything other than an unqualified admission, describe the facts that support your response.

        RESPONSE: See answer to Request for Admission No. 20.

        FIRST SUPPLEMENTAL RESPONSE: MAHC supplements the foregoing response

by adding that it also relies on the Expert Report of Daniel Sullivan, the deposition testimony of

Daniel Sullivan and the documents and exhibits referred to in both. See also the exhibits

introduced at Dr. Thomas Stratmann’s deposition. MAHC also identifies the personal experiences

and observations of its designated potential witnesses who can generally testify regarding their

own experience regarding the subject matter of this interrogatory. For example, MAHC believes

its designated potential witnesses have observed increased incidents of fraud and abuse in home

health in states without certificate-of-need regulation and in industries (such as hospice) in

Mississippi that do not have certificate-of-need requirements.

                              REQUESTS FOR PRODUCTION

        REQUEST NO. 1: Identify and produce all documents relevant to any claims or defenses

in this action.

        RESPONSE: MAHC objects to this request to the extent it calls for the production of any

privileged documents, including but not limited to documents subject to the attorney-client

privilege, joint defense, or common interest privilege between counsel for the Mississippi State

Department of Health and MAHC. MAHC objects to any request for a privilege log for documents

created after the date Plaintiff’s complaint was filed as it would be overly burdensome and not

reasonably calculated to lead to the discovery of admissible evidence. MAHC will produce any

responsive, non-privileged documents in its possession, custody, and control.




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        REQUEST NO. 2: Identify and produce all documents and communications concerning

your relationship with the Mississippi State Department of Health (including the Mississippi

Health Care Commission).

        RESPONSE: MAHC objects to this request to the extent it calls for the production of any

privileged documents, including but not limited to documents subject to the attorney-client

privilege, joint defense, or common interest privilege between counsel for the Mississippi State

Department of Health and MAHC. MAHC objects to any request for a privilege log for documents

created after the date Plaintiff’s complaint was filed as it would be overly burdensome and not

reasonably calculated to lead to the discovery of admissible evidence. MAHC will produce any

responsive, non-privileged documents, if any, in its possession, custody, and control unrelated to

the joint defense of this action.

        REQUEST NO. 3: Identify and produce all documents, including drafts, concerning

study, analysis, costs, benefits, harms, repeal, preservation, or amendment of: a prohibition on new

hospital-based home health agencies, a CON requirement for home health agencies, a moratorium

on the issuance of CONs for new home health agencies, or other restrictions on the creation of new

home health agencies.

        RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control.

        REQUEST NO. 4: Identify and produce all documents concerning your lobbying for

enactment or preservation of: a prohibition on new hospital-based home health agencies, a CON

requirement for home health agencies, a moratorium on the issuance of CONs for new home health

agencies, or other restrictions on the creation of new home health agencies.




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       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control.

       REQUEST NO. 5: Identify and produce all documents concerning testimony by your

officers, employees, or agents before any government body regarding enactment or preservation

of: a prohibition on new hospital-based home health agencies, a CON requirement for home health

agencies, a moratorium on the issuance of CONs for new home health agencies, or other

restrictions on the creation of new home health agencies.

       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control.

       REQUEST NO. 6: Identify and produce all documents concerning public comments

submitted by your officers, employees, or agents to any government body regarding enactment or

preservation of: a prohibition on new hospital-based home health agencies, a CON requirement

for home health agencies, a moratorium on the issuance of CONs for new home health agencies,

or other restrictions on the creation of new home health agencies.

       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control.

       REQUEST NO. 7: Identify and produce all documents concerning correspondence from

your officers, employees, or agents to your members regarding enactment or preservation of: a

prohibition on new hospital-based home health agencies, a CON requirement for home health

agencies, a moratorium on the issuance of CONs for new home health agencies, or other

restrictions on the creation of new home health agencies.

       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control.




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       REQUEST NO. 8: Identify and produce all of your official minutes concerning enactment

or preservation of: a prohibition on new hospital-based home health agencies, a CON requirement

for home health agencies, a moratorium on the issuance of CONs for new home health agencies,

or other restrictions on the creation of new home health agencies.

       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control.

       REQUEST NO. 9: Identify and produce all documents reflecting funds expended for

lobbying for enactment or preservation of: a prohibition on new hospital-based home health

agencies, a CON requirement for home health agencies, a moratorium on the issuance of CONs

for new home health agencies, or other restrictions on the creation of new home health agencies.

       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control.

       REQUEST NO. 10: Identify and produce all documents concerning correspondence from

or to your officers, employees, or agents to or from the Mississippi Hospital Association or its

officers, employees, or agents regarding enactment or preservation of: a prohibition on new

hospital-based home health agencies, a CON requirement for home health agencies, a moratorium

on the issuance of CONs for new home health agencies, or other restrictions on the creation of new

home health agencies.

       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control.

       REQUEST NO. 11: Identify and produce all documents concerning correspondence from

or to your officers, employees, or agents to or from any government official regarding enactment

or preservation of: a prohibition on new hospital-based home health agencies, a CON requirement




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for home health agencies, a moratorium on the issuance of CONs for new home health agencies,

or other restrictions on the creation of new home health agencies.

       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control.

       REQUEST NO. 12: Identify and produce all documents authored by Elaine Burchfield,

former president of the Mississippi Home Health Association (now Mississippi Association for

Home Care) regarding enactment or preservation of: a prohibition on new hospital-based home

health agencies, a CON requirement for home health agencies, a moratorium on the issuance of

CONs for new home health agencies, or other restrictions on the creation of new home health

agencies.

       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control.

       REQUEST NO. 13: Identify and produce all documents concerning correspondence to or

from your officers, employees, or agents to or from the National Association for Home Care &

Hospice (including the National Association of Home Care and any other previous organization

names) or its officers, employees, or agents regarding enactment or preservation of: a prohibition

on new hospital-based home health agencies, a CON requirement for home health agencies, a

moratorium on the issuance of CONs for new home health agencies, or other restrictions on the

creation of new home health agencies.

       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control.




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       REQUEST NO. 14: Identify and produce all documents concerning any actual or

potential effect on your members made by the enactment of the diagnosis-related group (DRG)-

based Medicare prospective payment system for hospitals.

       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control to the extent any such documents have not already been

produced.

       REQUEST NO. 15: Identify and produce all documents concerning any actual or

potential effect on your members from new hospital-based home health agencies.

       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control to the extent any such documents have not already been

produced.

       REQUEST NO. 16: Identify and produce any further documents not already requested but

otherwise reviewed or relied upon in response to any of Plaintiffs’ other discovery requests.

       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control to the extent any such documents have not already been

produced.

       REQUEST NO. 17: Identify and produce all reports, statements, drawings, photographs,

or other documents provided to, created by, reviewed by, or relied upon by any expert retained or

consulted in this matter.

       RESPONSE: MAHC will produce documents not protected from discovery pursuant to

Fed. R.Civ. P. 26 to the extent any such documents have not already been produced.

       REQUEST NO. 18: Identify and produce all documents or reports provided to, reviewed

by, or relied upon by any witness expected to be called at trial, including factual observations,




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tests, supporting data, calculations, photographs, treatises, articles, periodicals, or pamphlets and

opinions prepared in connection with this lawsuit by or for all expert witnesses.

       RESPONSE:         MAHC will produce any responsive, non-privileged documents not

protected from discovery pursuant to Fed. R.Civ. P. 26 to the extent any such documents have not

already been produced.

       REQUEST NO. 19: Identify and produce a copy of all documents you may use as an

exhibit or demonstrative aide during the trial of this matter.

       RESPONSE: MAHC has not yet decided which documents it may use as an exhibit or

demonstrative aide during the trial of this matter. MAHC will supplement, if necessary, in

accordance with any applicable deadlines, if and when it determines that it may use any exhibits

or demonstrative aides during trial, to the extent any such documents have not already been

produced.

       REQUEST NO. 20: Identify and produce each document and thing in your possession,

custody, or control that you may use to support your defenses in this matter.

       RESPONSE: MAHC will produce any responsive, non-privileged documents in its

possession, custody, and control to the extent any such documents have not already been produced.

       REQUEST NO. 21: Produce any documents identified in response to Plaintiff’s First Set

of Interrogatories.

       RESPONSE: MAHC will produce any responsive, non-privileged documents in its

possession, custody, and control to the extent any such documents have not already been produced.

       REQUEST NO. 22: Identify and produce any documents regarding potential suspension,

waiver, modification, repeal, or non-enforcement of the home health CON laws or home health

moratorium during the COVID-19 pandemic.




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       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control.

       REQUEST NO. 23: Identify and produce drafts of and documents related to the report

dated August 19, 2004, prepared on your behalf entitled “Certificate of Need in the Home Health

Industry: A Study of Continued Viability for Mississippi.”

       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control.

       REQUEST NO. 24: Identify and produce any documents stating or suggesting that

elimination of the home health CON law or home health moratorium would increase, decrease, or

have no effect upon the agency’s regulatory burden.

       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control to the extent any such documents have not already been

produced.

       REQUEST NO. 25: Identify and produce all documents concerning the need, importance,

or role of home health providers during the COVID-19 pandemic.

       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control to the extent any such documents have not already been

produced.

       REQUEST NO. 26: Identify and produce any documents in which the Mississippi

Association for Home Care (including the Mississippi Home Health Association) or any of its

officers, employees, or agents, has stated that there is or may be an unmet need for home health

services in Mississippi.




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       RESPONSE: MAHC will produce any responsive, non-privileged documents, if any, in

its possession, custody, and control.


Dated: December 30, 2023

                                           MISSISSIPPI ASSOCIATION FOR HOME CARE

                                           By: /s/ Caroline B. Smith
                                               PAUL N. DAVIS (MB #8638)
                                               THOMAS L. KIRKLAND, JR. (MB #4181)
                                               CAROLINE B. SMITH (MB #105501)

                                              ITS ATTORNEYS




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                                 CERTIFICATE OF SERVICE
        I, Paul N. Davis, do hereby certify that on this day I caused to be served a true and correct

copy of the foregoing pleading by electronic mail to all counsel of record.

        This the 30th day of December, 2023.

                                                              /s/ Paul N. Davis
                                                              Paul N. Davis


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